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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                         )
                                                 )
        v.                                       )       Criminal No. 18-292
                                                 )
ROBERT BOWERS                                    )


                                                ORDER

        AND NOW, this 30th day of June, 2022, following the Status Conference held in this matter

on June 29, 2022, and consistent with the discussion during that Status Conference, it is hereby

ORDERED as follows:

        1. A Status Conference is scheduled in this matter for August 15, 2022 at 1:00 p.m. The

August 15, 2022 Status Conference shall proceed as a Video Status Conference before Judge

Robert J. Colville. A video hearing link will be circulated to the parties in advance of the Status

Conference. During the Status Conference, the parties shall be prepared to discuss potential dates

for trial in this matter, as well as the potential length of trial (including jury selection), structure of

trial, and any related issues.

        2. Ahead of the August 15, 2022 Status Conference, the parties shall meet and confer to

discuss the topics that will be discussed during the Status Conference. By Noon on August 8,

2022, the parties shall file a joint status report setting forth any issues upon which the parties agree,

as well as the parties’ respective positions as to any issue on which they disagree. To the extent

either party believes briefing is warranted as to any topic that will be discussed during the Status

Conference, the parties are hereby granted leave to file a concise brief or individual status report

by Noon on August 8, 2022.
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       3. Upon consideration of Defendant’s Oral Motion for a fourteen-day extension of the

deadline for Defendant’s guilt-phase expert disclosures, which are currently due on July 7, 2022,

and the Government’s opposition thereto, it is hereby ORDERED that the Oral Motion is granted.

Defendant’s guilt-phase expert disclosures shall be made by July 21, 2022.

       4. Consistent with the discussion during the Status Conference, Defendant, to the extent

necessary, has leave to file a motion to compel data relevant to the 2020 Qualified Jury Wheel,

and the Court will consider the same if and when filed. The Court anticipates that any motion

addressing that data will be filed within 45 days after the data is produced and a certification of

production is filed or 45 days after Defendant files a certification that he is already in possession

of the relevant data, whichever is later.




                                                      /s/ Robert J. Colville
                                                      Robert J. Colville
                                                      United States District Judge


cc: record counsel via CM-ECF Electronic Notice Filing
